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November 13, 2017

VIA ECF

Honorable Joseph F. Bianco

District Court of Eastern New York - Long Island
100 Federal Plaza

Central Islip, NY 11722

Re: Public Administrator of the County of Nassau, as Administrator of the Estate of
Emanuel McElveen, deceased v. County of Nassau, et al.
Docket #: 2:17-cv-05623
Our File #:7010653

Dear Honorable Sir:

Our office represents the Plaintiff in the above captioned matter.

Please allow this correspondence to advise the Court that we will be discontinuing our pending
action as against NASSAU HEALTH CARE CORPORATION ONLY. The telephone

conference scheduled by the Court for November 14, 2017 at 3:00 PM will no longer be
necessary.

Attached is a signed Stipulation by all parties. It is respectfully requested that the Stipulation be
So Ordered.

Thank you for the Court’s time with this matter.

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ce: Kerley, Walsh, Matera & Cinquemani, P.C., via electronic case filing
